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   15                   UNITED STATES DISTRICT COURT
   16              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   17 MR TECHNOLOGIES, GMBH,                  CASE NO. 8:22-cv-01599-JVS-DFM
   18         Plaintiff and                   Judge: District Judge James V. Selna
   19         Counterclaim Defendant,         Magistrate Judge Douglas F. McCormick
   20   vs.                                   MEMORANDUM IN SUPPORT OF
                                              DEFENDANT WESTERN DIGITAL
   21   WESTERN DIGITAL                       TECHNOLOGIES, INC.’S MOTION
   22   TECHNOLOGIES, INC.,                   FOR JUDGMENT AS A MATTER
                                              OF LAW PURSUANT TO FED. R.
   23         Defendant and                   CIV. P. 50(b)
   24         Counterclaim Plaintiff.
                                              Complaint Filed: August 26, 2022
   25                                         Hearing Date:      November 18, 2024
                                              Time:              1:30 p.m.
   26                                         Courtroom:         10C
   27
   28

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    1 I.      INTRODUCTION
    2         Pursuant to Fed. R. Civ. P. 50(b), Defendant Western Digital Technologies, Inc.
    3 (“WD”) respectfully submits this memorandum in support of its Renewed Motion for
    4 Judgment as a Matter of Law (“JMOL”) of (1) non-infringement as to all asserted
    5 claims and all accused products and (2) no damages because Plaintiff MR
    6 Technologies, GmbH (“MRT”) failed to present legally sufficient evidence. Dkt. 616.
    7 II.     LEGAL STANDARDS
    8         Judgment as matter of law is appropriate “[i]f a party has been fully heard on
    9 an issue during a jury trial and the court finds that a reasonable jury would not have a
   10 legally sufficient evidentiary basis to find for the party on that issue.” Fed. R. Civ. P.
   11 50(a)(1). The standard for JMOL “mirrors” that of summary judgment. Reeves v.
   12 Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000) (citation omitted).
   13         While “the Court must draw all reasonable inferences in favor of the nonmoving
   14 party, and … may not make credibility determinations or weigh the evidence,” the
   15 Court “should review all of the evidence in the record” and “give credence to the
   16 evidence … supporting the moving party that is uncontradicted and unimpeached.”
   17 Id. at 150-51 (citations omitted). “[G]eneral and conclusory testimony” by experts “is
   18 not enough to be … substantial evidence in support of a verdict.” WhitServe, LLC v.
   19 Comput. Packages, Inc., 694 F.3d 10, 24 (Fed. Cir. 2012). “The question is not
   20 whether there is literally no evidence supporting the party against whom the motion
   21 is directed but whether there is evidence upon which the jury might reasonably find a
   22 verdict for that party.” 9B Charles Alan Wright & Arthur R. Miller, Federal Practice
   23 & Procedure § 2524 (3d ed. 2011).
   24         MRT bears the burden of presenting sufficient evidence to establish
   25 infringement, including that every element of the asserted claims is present in the
   26 accused products. Duncan Parking Techs., Inc. v. IPS Grp., Inc., 914 F.3d 1347, 1360
   27 (Fed. Cir. 2019). JMOL of non-infringement is warranted where the patentee fails to
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    1 present evidence of a claim limitation. CommScope Techs. LLC v. Dali Wireless Inc.,
    2 10 F.4th 1289, 1296-1300 (Fed. Cir. 2021) (reversing denial of JMOL).
    3           MRT also bears the burden to establish entitlement to “damages adequate to
    4 compensate for … infringement” “in an amount no less than a reasonable royalty.”
    5 35 U.S.C. § 284; Dow Chem. Co. v. Mee Indus., Inc., 341 F.3d 1370, 1381 (Fed. Cir.
    6 2003); TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1291 (Fed. Cir. 2020). “The statute
    7 does not require an award of damages if none are proven that adequately tie a dollar
    8 amount to the infringing acts.” TecSec, 978 F.3d at 1291.
    9 III.      MRT FAILED TO OFFER SUFFICIENT EVIDENCE TO SUPPORT A
   10           FINDING OF INFRINGEMENT
   11           At trial, MRT pursued only literal, direct infringement of asserted claims 1, 10
   12 and 11 of the ’864 patent, and claims 1 and 7 of the ’997 patent (“Asserted Claims”).1
   13 MRT failed, however, to present sufficient evidence that the accused products practice
   14 each and every element of the Asserted Claims. CommScope, 10 F.4th at 1296-1300.
   15           Prior to trial, the parties entered a joint stipulation organizing the accused
   16 products into seven groups and designating a representative product for each group.
   17 Dkt. 231. None of the representative products practice any of the following required
   18 claim elements: (1) a “hard magnetic storage layer” (“HMSL”) that stores information
   19 in accordance with the Court’s claim construction; (2) a “nucleation host” (“NH”) that
   20 assists with switching the HMSL as required by the Court’s construction, and (3) a
   21 HMSL and NH that each meet respective coercivity requirements. At trial, MRT
   22 failed to adduce legally sufficient evidence from which a reasonable jury could
   23 conclude that any one (let alone all) of these elements is met.
   24           Additionally, in an attempt to show that the layers in product Group 3 meet the
   25 coercivity requirements, MRT’s expert (Dr. Re) relied on anisotropy (Ku) and
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            MRT did not argue indirect infringement or doctrine of equivalents. Dkts. 88, 473,
   28       481.
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    1 magnetism (Ms) values from an entirely separate product that was never accused or
    2 sold. Dr. Re inexplicably pulled those numbers from a non-applicable spreadsheet
    3 different from the one from which he obtained the same values for the other accused
    4 drives. 7/18/24 Vol. I Tr. 68:3-73:19, 92:11-20, 98:14-21; 7/18/24 Vol. II Tr.
    5 81:22-102:5. This amounts to an independent failure of proof for nearly half of the
    6 accused products by sales volume.
    7        A.     MRT Failed to Prove That the Accused Products Have the Claimed
    8               “Hard Magnetic Storage Layer”
    9        Every Asserted Claim requires a “hard magnetic storage layer.” ’864 patent
   10 cls. 1, 10, and 11; ’997 patent cls. 1 and 7. The Court construed “hard magnetic
   11 storage layer” as “a magnetic layer that stores information in magnetically oriented
   12 bits.” Dkt. 195 at 30 (emphasis added). MRT failed to show that this limitation is
   13 met by any accused product.
   14        In its Summary Judgment Order, Dkt. 321, the Court acknowledged that MRT
   15 had two options for this limitation: MRT could argue that a specific bottom layer in
   16 each accused product is the claimed HMSL, or that the entire magnetic stack is the
   17 claimed HMSL. Id. at 8. Under the former, MRT failed to meet its evidentiary
   18 burden; under the latter, MRT’s argument runs contrary to Federal Circuit precedent.
   19               1.    No Reasonable Jury Could Find the Accused Products Have
   20                     a “Layer That Stores”
   21        At trial, MRT failed to present evidence that a specific bottom layer stores
   22 information as required by the Court’s construction. MRT relied solely on its
   23 technical expert, Dr. Re, for infringement and Dr. Re mapped the single bottom
   24 layer—G-1 in most representative products and SCL in the remainder—to the claimed
   25 HMSL. 7/18/24 Vol. II Tr. 64:20-65:4 (confirming the HMSL “is defined in the patent
   26 as a single layer”); 7/18/24 Vol. I Tr. 43:15-21, 48:2-6, 57:10-12, 64:14-16,
   27 66:7-67:12, 68:19-20, 74:3-5, 85:18-86:1, 86:23-87:1, 88:24-89:17, 94:6-12.
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   1         But, as Dr. Re conceded, these bottom layers do not and cannot store
   2 information in magnetically oriented bits. To store information in the accused
   3 products, the entire stack, including many additional layers, must work together as a
   4 unit. 7/18/24 Vol. II Tr. 65:5-13 (“No. They couldn’t store data on their own.”),
   5 65:23-66:23 (“Q: So the G1 layers or SCL layers in green, they couldn’t store data all
   6 on their own, magnetically or in bits, in any meaningful way, right? A: Not if they
   7 were separated and on their own, no.”), 72:7-10; 7/19/24 Vol. I Tr. 37:7-24 (agreeing
   8 that the accused HMSL only stores “when it’s in media together in a stack with all the
   9 other magnetic layers” and “does not, in fact, store data in magnetically oriented bits
  10 on its own”). While Dr. Re testified that “the bottom layer of the stack gets switched
  11 to write a bit,” the deposition testimony Dr. Re relies on for that statement is clear that
  12 it is “the whole stack” that “stores information in magnetically oriented bits.” 7/18/24
  13 Vol. I Tr. 88:21-89:4 (referring to deposition testimony played at trial); 1/26/24 Desai
  14 Dep. Tr. 37:10-21; 2/9/24 Desai Dep. Tr. 267:8-269:12. Both Dr. Re and named
  15 inventor Dr. Suess also confirmed that the patent “define[s]” the HMSL as “one
  16 layer,” not an entire stack. 7/17/24 Vol. II Tr. 87:4-8; 7/18/24 Vol. II. Tr. 64:20-65:4.
  17         WD subsequently presented testimony from technical fact witness Dr. Desai
  18 and non-infringement expert Dr. Bertero, both of whom further confirmed that the
  19 identified bottom layers cannot store information as required by the claims. 7/19/24
  20 Vol. II Tr. 53:12-54:11, 56:12-21, 114:6-13 (“[The G1 layer] cannot store by itself.”);
  21 7/23/24 Vol. II Tr. 97:6-21 (“The G1 layers – any of the G layers in the WD media
  22 stack cannot retain data for any meaningful period of time on their own.”),
  23 99:17-100:20 (“[T]he G1 layers in the accused products by themselves cannot
  24 positively store information in a meaningful way. The [information encoded] would
  25 decay very quickly.”). MRT did not rebut that testimony. MRT, therefore, failed to
  26 offer any evidence that the bottom layer of each accused product stores information
  27 in magnetically oriented bits as required by the Court’s construction of HMSL.
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   1                2.    MRT Cannot Rely on the Entire Stack
   2         As an initial matter, MRT’s opposition to the Rule 50(a) motion affirmatively
   3 disclaimed reliance on the entire stack to demonstrate that the accused products meet
   4 the HMSL limitation. Dkt. 558 at 4 (“WD next contends that MRT and Dr. Re
   5 ‘accused the entire stack of magnet layers’ as ‘providing the storage function required
   6 by the Court’s construction of the hard magnetic storage layer.’ WD is wrong.”), 5
   7 (“neither MRT nor Dr. Re identified the entire stack as the ‘hard magnetic storage
   8 layer’”); see also Wis. Alumni Rsch. Found. v. Apple Inc., 112 F.4th 1364, 1374 (Fed.
   9 Cir. 2024) (finding waiver where plaintiff “affirmatively abandoned” an infringement
  10 theory “for strategic purposes”).
  11         Nonetheless, at trial, MRT relied on the entire stack. Because the thin bottom
  12 magnetic layer of the accused products cannot store information except as part of a
  13 stack of magnetic layers, MRT needed to rely on the entire stack of magnetic layers—
  14 the bottom G-1 or SCL layer and all of the magnetic “G” layers above the bottom
  15 layer— that store information together. See 7/18/24 Vol. I Tr. 33:21-34:9, 40:18-41:4
  16 (“It would be required basically. It would be nonsensical for [the other layers] to not
  17 store data.”), 41:13-20; 7/18/24 Vol. II Tr. 65:16-22 (“And they all store stable data,
  18 yes.”), 66:2-6 (“[T]hey all need to be there to store the bits.”), 72:18-25; 7/19/24 Vol.
  19 I Tr. 31:5-21 (“Q. Collectively with all the other magnetic layers in the stack that you
  20 call a nucleation host? A. Correct.”). Under that theory, the entire stack would be
  21 the claimed HMSL, which is insufficient given the admissions that the HMSL is a
  22 single layer. While MRT arbitrarily circled a single layer of that stack and said it was
  23 the HMSL, MRT did not—and could not—show through evidence presented at trial
  24 that any single magnetic layer meets the requirements of the claimed single-layer
  25 HMSL that stores information.
  26         As the Court warned in its Summary Judgment Order, MRT’s “entire stack”
  27 theory is also in tension with MRT being able to identify “a distinct nucleation host”
  28 as required by the Asserted Claims. Dkt. 321 at 8. The Asserted Claims each recite
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   1 a “multilayer structure, including” both “a hard magnetic storage layer” that stores
   2 information and a mutually exclusive “nucleation host” with distinct properties. See
   3 also Dkt. 321 at 8-9 (“In view of the claim language and the Court’s constructions,
   4 identifying the same components as meeting both the ‘hard magnetic storage layer’
   5 and the ‘nucleation host’ layer poses problems, especially in view of the differing
   6 coercive field requirements.”). Under the theory wherein the entire stack meets the
   7 HMSL limitation, the “G” layers above the G-1 or SCL layer would be both part of
   8 the HMSL and the separately claimed “nucleation host.” As a matter of law, no
   9 reasonable jury could find that the “G” layers meet both limitations.
  10         The inventor assigned two different terms to these claimed components—
  11 HMSL and, separately, NH. The law makes clear that different terms in the same
  12 claim are presumed to have different meanings. Becton, Dickinson & Co. v. Tyco
  13 Healthcare Grp., 616 F.3d 1249, 1254 (Fed. Cir. 2010). Throughout trial, the named
  14 inventor and MRT’s technical expert agreed. 7/17/24 Vol. II Tr. 33:6-13 (agreeing
  15 that the patent has “two distinct components”), 37:1-5 (“I agree that the abstract
  16 describe[s] these two distinct structures”), 37:19-38:1, 39:13-17 (agreeing that “the
  17 structure that has these two distinct components of a nucleation host and a hard
  18 magnetic storage layer is a critical aspect” of the invention), 40:20-41:18, 94:2-9; 7/18
  19 Vol. I Tr. 43:8-14, 57:10-15, 64:14-19, 74:3-8, 95:3-5; see also 7/17/24 Vol. I Tr.
  20 26:11-16 (counsel for MRT stating “[the nucleation host] has to be a multilayer
  21 nucleation host separate and apart from the hard storage layer.”).
  22         As in Becton, Dickinson, the surrounding claim language and the specification
  23 confirm that the HMSL and NH are distinct. The claims themselves require the HMSL
  24 to have a coercive field Hs greater than 0.5 T, and the NH to have a different coercive
  25 field, Hn that is less than Hs. ’864 patent cls. 1, 10, 11;’997 patent cls. 1, 7; see also
  26 Dkt. 321 at 8-9 (acknowledging the “differing coercive field requirements” for the two
  27 structures); ’864 patent at 4:53-58 (“The recording media includes hard magnetic
  28 storage layer 24 and softer nucleation host 21.”). Despite relying on the entire stack
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   1 to show storage, MRT used estimates for the single, bottommost magnetic layer of the
   2 accused products for the coercivity limitations of the Asserted Claims. 7/18/24 Vol.
   3 II Tr. 91:18-94:2 (“Q. Just to recap, is it fair to say that the bottom G layer or the hard
   4 storage layer in all the accused products has a first coercive field Hs of around 2 tesla?
   5 A. Correct.”).
   6         The specification also repeatedly distinguishes the HMSL from the NH. See
   7 generally ’864 patent. And the distinction between the HMSL and the NH is further
   8 supported by the Court’s claim constructions.          The Court construed “exchange
   9 coupled magnetic multilayer structure” to be “a structure including a nucleation host
  10 that is exchange coupled to a hard magnetic storage layer.” Dkt. 195 at 30. The Court
  11 separately construed “hard magnetic storage layer” and “nucleation host” to be
  12 different layers with different names and different functions. Id.
  13         Additionally, as in Becton, Dickinson, interpreting the claims such that the
  14 HMSL and NH “can be the same structure renders the asserted claims nonsensical.”
  15 Id. at 1255. In Becton, Dickinson, the Federal Circuit found that relational terms such
  16 as “connected to” and “extending between” indicated distinct components. Id.; see
  17 also Comcast Cable Commc’ns, LLC v. Promptu Sys. Corp., 838 F. App’x 551, 553
  18 (Fed. Cir. 2021) (“By listing the [claim] elements separately and by using the word
  19 ‘coupled,’ [the claim] strongly indicates” two components are “distinct[.]”); Wi-LAN
  20 Inc. v. Sharp Elecs. Corp., 992 F.3d 1366, 1378 (Fed. Cir. 2021) (similar). Here, the
  21 claims require the HMSL to be “formed on” the underlayer and the NH to be “formed
  22 on” the HMSL; the HMSL to be “between the nucleation host and the non-magnetic
  23 substrate”; and the HMSL and NH to be “exchange coupled.” The claims also require
  24 the NH to have its own “layers with increasing anisotropy constant K from layer to
  25 layer.”
  26         If (as required under the entire stack theory), the upper “G” layers are part of
  27 both the HMSL (the full stack) and the NH (only the upper “G” layers), none of these
  28 additional claim limitations are coherent:
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   1         1.    It makes no sense to say that the NH is formed on the HMSL
   2               because the same “G” layer(s) would be part of both;
   3         2.    It makes no sense to have a comparison of the coercive field of the
   4               HMSL and the coercive field of the NH “without the hard
   5               magnetic storage layer”;
   6         3.    It makes no sense to say that the NH “is exchange coupled to the
   7               hard magnetic storage layer” as a layer cannot be exchanged
   8               coupled to itself; and
   9         4.    Because under the Court’s construction the layers of the NH must
  10               also have “an overall increase in anisotropy toward the hard
  11               magnetic storage layer,” it makes no sense to have an overall
  12               increase in anisotropy “towards” itself, or that increases in both
  13               directions.
  14         Relying on the upper “G” layers for both the HMSL and NH limitations is
  15 therefore insufficient to identify separate components as required by the claims.
  16               3.     MRT’s Counter-Arguments Do Not Resolve Its Legal Error
  17         Recognizing the fatal flaws in its infringement case, MRT maintains two
  18 counter-arguments. Both fail.
  19         First, MRT attempts to recast WD’s non-infringement position as requiring the
  20 HMSL to be somehow physically “remove[d]” from the stack or media and store
  21 information on its own, without the other layers. 7/18/24 Vol. II Tr. 131:22-132:7.
  22 This is not WD’s position. Rather, as detailed above, the claims and the Court’s
  23 construction require a distinct HMSL that itself stores information in magnetically
  24 oriented bits—regardless of whether it is located within a stack. Dkt. 195 at 30; Dkt.
  25 321 at 8-9. WD does not contend that the accused G-1 and SLC layers must be able
  26 to store information if they are removed entirely from the media of the accused drives.
  27 Rather, WD presented unrebutted testimony that if only a single layer stored
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   1 information, it would need to be “at least as thick as the entire stack.” 7/23/24 Vol. II
   2 Tr. 103:6-22; see also id. at 105:25-107:7.
   3         Second, MRT misapplies the law concerning the meaning of “comprising” in
   4 an effort to rewrite the claims and erase any distinction between the claimed HMSL
   5 and NH. Specifically, MRT argues that its trial position relying on the upper “G”
   6 layers for both the NH and the “store information” function of the HMSL is consistent
   7 with the claim language. E.g., Dkt. 558 at 3-4. The problem, however, is not whether
   8 an accused NH layer can store information as an additional, unrecited feature. The
   9 problem is that MRT has not identified (and cannot identify) both a NH and a distinct
  10 HMSL that meets the Court’s requirement of storing information in the accused
  11 products.
  12         The use of “comprising” does not relieve MRT of its burden of showing every
  13 limitation is met by the accused products.             Catalina Mktg. Int’l, Inc. v.
  14 Coolsavings.com, 289 F.3d 801, 812 (Fed. Cir. 2002); Wis. Alumni Rsch. Found. v.
  15 Apple Inc., 905 F.3d 1341, 1348–50 (Fed. Cir. 2018) (reversing denial of JMOL of
  16 non-infringement and rejecting the argument that reciting “comprising” in the
  17 preamble allowed reading out a required claim element). While “comprising” “does
  18 not exclude additional unrecited elements” it “is not a weasel word with which to
  19 abrogate claim limitations.” Spectrum Int’l v. Sterilite Corp., 164 F.3d 1372, 1380
  20 (Fed. Cir. 1998); see also Trading Techs. Int’l, Inc. v. eSpeed, Inc., 595 F.3d 1340,
  21 1354 (Fed. Cir. 2010) (holding that “comprising” cannot be used to negate a claim
  22 element). MRT cannot, therefore, rely on the claims’ recitation of “comprising” to
  23 unwind the requirement of both a HMSL and a distinct NH, as described above. See
  24 also, e.g., ’864 patent cl. 1 (“A magnetic recording medium, comprising: … an
  25 exchange coupled magnetic multilayer structure, including a hard magnetic storage
  26 layer … and a nucleation host …”).
  27         In Apple Inc. v. Samsung Electronics Co., 695 F.3d 1370 (Fed. Cir. 2012), the
  28 Federal Circuit addressed a similar issue. There, the asserted claim required a
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   1 “plurality” of modules where “each … employs a different, predetermined heuristic
   2 algorithm.” Id. at 1373. The court held that “despite the use of ‘comprising,’” the
   3 claim was “not amenable to the addition of other modules that do not use different
   4 heuristic algorithms because such addition would impermissibly wipe out the express
   5 limitation that requires every module to have a unique heuristic algorithm.” Id. at
   6 1379. Similarly, in Raytheon Co. v. Sony Corp., 727 F. App’x 662, 672-73 (Fed. Cir.
   7 2018), the “claim term ‘second substrate’” required “permanent attachment
   8 throughout the fabrication process.” Focusing “solely on the ‘comprising’ transition,”
   9 the Board found that prior art disclosing an additional manufacturing step that
  10 removed the second substrate met that limitation. Id. While the court ultimately
  11 affirmed the Board’s ruling invalidating the challenged claims, the court found that
  12 the Board’s interpretation of “comprising” to “vitiat[e] the ‘second substrate’
  13 limitation [was] improper.” Id. at 673.
  14         Here, MRT’s comprising argument would also “impermissibly wipe out the
  15 express limitation[s] that require” both a HMSL and a NH, each with distinct
  16 properties. See also Liberty Ammunition, Inc. v. United States, 835 F.3d 1388, 1399
  17 (Fed. Cir. 2016) (open-ended transitions, such as “including” and “comprising” cannot
  18 be used to abrogate claim limitations or contradict the patent specification).
  19         In sum, MRT failed to adduce a legally sufficient evidentiary basis for a
  20 reasonable jury to find the G-1, G1-1, and SLC layers in the WD accused products are
  21 hard magnetic storage layers that store information in magnetically oriented bits. WD
  22 respectfully asks the Court to grant judgment as a matter of law of no infringement.
  23         B.    MRT Failed to Prove That the Accused Products Have the Claimed
  24               “Nucleation Host”
  25         The Court construed “nucleation host” as “a structure that includes
  26 ferromagnetic layers that assist in switching the hard magnetic storage layer, and
  27 optional coupling layers.” Dkt. 195 at 30. MRT failed to proffer sufficient evidence
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   1 for a reasonable jury to find a NH in the accused products for at least two independent
   2 reasons.
   3           First, MRT’s evidence conflates the NH and the HMSL. Supra Section III.A.
   4 But doing so ignores the fact that the patent claims and specification call out and
   5 require two distinct claim requirements. As shown above, MRT’s only evidence
   6 relating to the storage of information invited the jury to find either: (1) that the entire
   7 stack meets the HMSL limitation, or (2) that the accused products’ multiple storage
   8 layers together constitute the NH. Neither finding would constitute a finding that the
   9 accused products contain a distinct NH. See Dkt. 321 at 8. This warrants judgment
  10 as a matter of law.2
  11           Second, MRT failed to present sufficient evidence for a reasonable jury to find
  12 that the alleged NH of the accused products “assist[s] in switching” a HMSL as
  13 required by the Court’s construction.         MRT relies on three pieces of evidence
  14 presented through Dr. Re’s testimony: (1) modeling unrelated to any accused product,
  15 (2) slide 152 of Dr. Re’s own demonstratives, and (3) JX2047, a 2010 WD conference
  16 presentation. 7/19/24 Vol. I Tr. 22:12-25:25. Dr. Re opined that “the switching
  17 should be incoherent,” (i.e., using the “domino” theory of sequential magnetization
  18 changes MRT relies on for assistance), not that it was, in fact, incoherent in any
  19 accused product. Id. This is insufficient to avoid JMOL.
  20           Testimony from Dr. Re and named inventor Dr. Suess established that the
  21 “modeling” Dr. Re relies on for this limitation was a simulation Dr. Suess presented
  22 at a conference in 2008—10 years before the earliest possible date of infringement.
  23 7/17/24 Vol. I Tr. 92:24-93:21. Rather than measure or model the accused products,
  24
  25
       2
           In addition to no infringement as a matter of law due to MRT’s failure to prove the
  26
           accused products have a HMSL separate from a NH, for the reasons set forth in
  27       WD’s concurrently-filed motion for a new trial, WD also should have been permitted
           to affirmatively argue to the jury in closing why all layers in the accused products
  28       were storage layers, and none could be considered a “nucleation host.”
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   1 Dr. Re relied on Dr. Suess’s model to speculate “how the physics works” and inform
   2 his infringement analysis. 7/19/24 Vol. I Tr. 31:22-33:3. At best, this model explains
   3 how the claimed invention might work in theory based on Dr. Suess’s understanding
   4 in 2008. And yet, Dr. Re never performed any modeling on his own and never
   5 modeled or measured the actual accused products in this case. 7/18/24 Vol. II Tr.
   6 74:14-75:6, 78:1-79:15 (“You would have to rely on modeling to prove that.”),
   7 79:16-22 (“It’s a very difficult experimental measurement” … “But clearly, the lower
   8 anisotropy layer will start to switch first”), 80:14-18 (“[T]hat’s probably a very
   9 difficult measurement to make, and I don’t have the capabilities to make that
  10 measurement.”); 7/19/24 Vol. I Tr. 31:22-33:3. Expert testimony without “any
  11 examinations or tests of the actual accused products” is insufficient to support an
  12 infringement verdict. Yoon Ja Kim v. ConAgra Foods, Inc., 465 F.3d 1312, 1320 (Fed.
  13 Cir. 2006) (affirming JMOL of non-infringement).
  14           Dr. Re otherwise relied on out-of-context statements from WD documents to
  15 support his infringement analysis; namely, JX2047, a high-level conference
  16 presentation that pre-dates the accused products by 8 years and, accordingly, does not
  17 relate to or mention any particular accused product. Even these, Dr. Re conceded,
  18 described general concepts, not how the alleged “nucleation host” in the accused
  19 products assists in switching the alleged HMSL. 7/19/24 Vol. I Tr. 31:22-37:3. As
  20 WD’s technical witness Dr. Desai repeatedly testified, in the accused products, the
  21 magnetic stack layers are self-switching and all switch together. 7/23/24 Vol. I Tr.
  22 35:7-36:12 (“I’ve been doing this for 15 years. Yes, they switch together.”).3 That
  23 testimony stands unrebutted.
  24           Because “[e]xpert testimony that fails to show how the accused device meets a
  25 particular limitation cannot constitute substantial evidence supporting a finding of
  26
  27
       3
           The referenced “capping” layer is irrelevant. MRT did not argue that the capping
  28       layer meets any limitation.
                                                   12
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   1 literal infringement,” MRT’s evidence fails as a matter of law. Smith v. Garlock
   2 Equip. Co., 658 F. App’x 1017, 1024 (Fed. Cir. 2016) (citing Johns Hopkins Univ. v.
   3 Datascope Corp., 543 F.3d 1342 (Fed. Cir. 2008)) (emphasis added); see Hewlett-
   4 Packard Co. v. Mustek Sys., Inc., 340 F.3d 1314, 1321 (Fed. Cir. 2003) (holding that
   5 infringement verdict was unsupported by substantial evidence because the accused
   6 device did not perform the required function).
   7         Dr. Re’s reliance on the theoretical model further renders his infringement
   8 opinion regarding this limitation unreliable such that his testimony cannot support a
   9 jury verdict of infringement. See In re NFL “Sunday Ticket” Antitrust Litig., No. ML
  10 15-02668, 2024 WL 3628118, at *3 (C.D. Cal. Aug. 1, 2024) (finding expert
  11 testimony unreliable in a post-trial Daubert analysis and granting JMOL “because
  12 there was no other support” for an element). At trial, Dr. Re acknowledged that he
  13 did not himself know how the switching works in the context of the theoretical model
  14 and needed to rely on Dr. Suess to explain the physics. 7/18/24 Vol. II Tr. 73:20-75:6,
  15 76:20-77:2 (“I think Dr. Seuss’ [sic] simulation show[s] that, but I did not show that.”).
  16 When cross-examined about the implications of the timescale at which the bits in the
  17 accused products flip (less than a nanosecond), Dr. Re could not respond, deferring to
  18 Dr. Suess. Id. at 74:14-19 (“I think I’d have to ask Dr. Seuss about that.”). Dr. Suess,
  19 of course, could not perform the analysis with respect to the accused products as he
  20 was not “permitted access to WD’s internal technical documents.” Dkt. 558 at 8; see
  21 also 7/18/24 Vol. II Tr. 74:14-22, 78:1-16.
  22         An expert who “lacks critical information about the basis for [their] opinion that
  23 would be necessary for [the opposing party] to effectively cross-examine [them],”
  24 demonstrates unreliability that cannot be cured through cross-examination. Hoya
  25 Corp. v. Alcon Inc., No. 3:20-cv-3629, 2024 WL 310706, at *19 (N.D. Tex. Jan. 26,
  26 2024); Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (noting that where an expert
  27 considers relevant material but fails to provide an opinion explaining how that
  28 material leads to his conclusion, “[a] court may conclude that there is simply too great
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   1 an analytical gap between the data and the opinion proffered”). Dr. Re’s testimony
   2 relying on Dr. Suess’s models should be excluded and, therefore, cannot support a
   3 jury verdict of infringement.
   4           C.     MRT Failed to Prove the “Coercivity” Requirements of the Claims
   5           At trial, MRT failed to present sufficient evidence that the accused products
   6 meet the coercive field requirement of the HMSL (Hs > 0.5 Tesla) or comparative
   7 coercive field of the NH (Hn < Hs).4
   8           As Dr. Suess testified, coercivity is typically measured. 7/17/24 Vol. II Tr.
   9 41:3-42:12. And, MRT has the requisite tools for those measurements. 7/17/24 Vol.
  10 II Tr. 41:19-42:5 (confirming Dr. Suess has a vibrating sample magnetometry “VSM”
  11 machine in his lab for measuring coercive fields); 7/18/24 Vol. II Tr. 104:18-25 (Dr.
  12 Re confirming that his former employer used the same machinery for coercivity). Yet,
  13 MRT never measured the coercive fields in the accused products. Id. at 105:1-11.
  14           Instead, MRT’s infringement expert, Dr. Re, used the equation 2K/Ms to
  15 estimate the coercive fields. 7/17/24 Trial Tr. Vol. I 106:8-21 (“[W]e use a very
  16 simple formula to calculate the coercive field.”); see also 7/18/24 Vol. I Tr. 45:14-
  17 47:7, 57:16-58:24, 61:18-63:17, 64:20-66:18, 69:4-70:2, 74:9-75:11, 76:3-6, 91:18-
  18 93:20, 96:2-20, 97:9-22, 98:4-100:2; 7/18/24 Vol. II Tr. 15:23-17:24. MRT’s estimate
  19 fails to meet its burden for two reasons.
  20           First, while the patent permits the use of a simple formula (Hk=2Keff / Meff) to
  21 estimate the coercive field in some contexts, the specification unequivocally
  22 establishes that this formula applies only to a bilayer “structure where the
  23 magnetization in the hard and soft layer is parallel and uniform.” ’864 patent at
  24 6:47-51. The simplified formula may be used only because the “bilayer structure leads
  25 to the same thermal stability as the single layer structure of the same thickness for the
  26 same value of the coercive field and for the same value of the average magnetization.”
  27
  28   4
           MRT presented no coercivity value for the entire stack. Supra at 6-7.
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   1 Id. at 6:57-60. MRT’s expert (Dr. Re) admitted as much, testifying that this portion
   2 of the specification relates to “a structure that only has one hard and one soft layer.”
   3 7/18/24 Vol. II Tr. 103:2-104:17.
   4         A bilayer structure is, however, inconsistent with both the claim language and
   5 the accused products. Every Asserted Claim requires at least two NH layers plus a
   6 HMSL layer for a minimum of three layers, see ’864 patent cl. 1; ’997 patent cls. 1
   7 and 7, and recites a “multilayer structure,” which, Dr. Re testified, “means more than
   8 two layers.” 7/18/24 Vol. I Tr. 25:10-26:5; see also 7/18/24 Vol. II Tr. 104:2-4
   9 (confirming that the “bilayer structure is not the claimed invention”). And, none of
  10 the accused products in this case are bilayer products where the magnetization of the
  11 layers is homogeneous, parallel, and uniform. The simplified formula therefore does
  12 not accurately represent coercivity.
  13         Second, Dr. Suess admitted that there are “some conditions under which that
  14 equation … would be a very bad approximation.” 7/17/24 Vol. II Tr. 43:24-44:3. Dr.
  15 Suess identified certain parameters to consider before relying on the 2K/Ms formula,
  16 including (1) layer thickness, (2) anisotropy constant, (3) timescale, (4) ratio of the
  17 anisotropy constants, and (5) shape of the grain. Id. at 44:4-10, 45:18-49:3 (“I testified
  18 that it can depend on all these parameters, depending on the condition of entities used,
  19 this formula.”). The formula itself does not account for these variables. And Dr. Re
  20 never considered or accounted for these variables in the accused products. See 7/18/24
  21 Vol. II Tr. 104:2-105:11; see also 7/18/24 Vol. I Tr. 43:25-44:7. Thus, Dr. Re’s
  22 reliance on the 2K/Ms formula in his infringement opinion is unreliable. Gen. Elec.,
  23 522 U.S. at 146. Left with no measurements or a reliable estimate, a reasonable jury
  24 could not find infringement.
  25         D.     For Half of Accused Sales, MRT Used Data From Unaccused
  26                Products for Values Required to Prove Infringement
  27         Even if the simplified coercivity estimate 2K/Ms were applied, MRT still needs
  28 to demonstrate that the accused products have the requisite coercivities pursuant to
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   1 that formula. For Product Group 3 (represented by a product called 5X1), MRT failed
   2 to do so. This Product Group constitutes nearly half (49%) of all accused sales by
   3 volume and more than one-third of MRT’s requested damages. 7/18/24 Vol. II Tr.
   4 88:18-89:1; 7/19/24 Vol. I Tr. 46:3-11.
   5         For this best-selling group of products, MRT used Ku and Ms values for the G1
   6 layer (the accused HMSL) of the never-sold Cobra G product, not representative
   7 product 5X1 or any other product in Group 3. 7/18/24 Vol. II Tr. 89:2-92:17; JX2028.
   8 MRT’s expert admitted he did not confirm those values apply to any accused product.
   9 7/18/24 Vol. II Tr. 92:18-98:21 (confirming that the Ku and Ms inputs come from a
  10 spreadsheet describing Cobra G and that he did not investigate whether Cobra G was
  11 accused, sold, or continued beyond 2017).
  12         WD’s technical witness confirmed that it would be inappropriate to use data for
  13 the discontinued, never-sold Cobra G platform for the “completely different” (and
  14 actually accused) 5X1 product because the differing substrate, parameters, process,
  15 and grain size would result in different intrinsic properties for the material. 7/19/24
  16 Vol. II Tr. 58:14-59:25 (confirming it would not “make sense to use the test
  17 measurements for AL1310 as used in the Cobra G product for the AL1310 that is used
  18 in the 5X1 product” because “that’s a different product, a different substrate, [and]
  19 different property of that intrinsic material,” Cobra G was canceled in 2016, was never
  20 sold by Western Digital, and is not accused). MRT therefore failed to present evidence
  21 that the accused HMSL for Group 3 (5X1) meets the claimed coercivity requirements
  22 and no reasonable jury could find that the Group 3 products infringe.
  23 IV.     MRT FAILED TO OFFER SUFFICIENT EVIDENCE TO SUPPORT A
  24         DAMAGES AWARD
  25         A.    MRT Failed to Offer Sufficient Evidence of Its $305.9 Million
  26               Damages Demand
  27         WD renews its motion for JMOL that no damages should have been awarded.
  28 At trial, MRT’s expert, Mr. Bergman, presented one damages number: a $305.9
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   1 million lump-sum reasonable royalty.         That is not, however, the figure in Mr.
   2 Bergman’s report that he opined the parties would have agreed to at a hypothetical
   3 negotiation. Dkt. 359-6 (Bergman Report) ¶ 319. Rather, it is one of two “instructive
   4 royalty amounts” Mr. Bergman adjusted to reach a lump-sum reasonable royalty of
   5 $253.4 million. Bergman Report ¶¶ 314, 319. At trial, Mr. Bergman failed to analyze
   6 under the Georgia-Pacific factors how the input number of $305.9 million is
   7 transformed into the final number that the parties would have arrived at in a
   8 hypothetical negotiation. See 7/19/24 Vol. I Tr. 53:20-54:17 (referring generally to
   9 Georgia-Pacific factors), 58:21-60:7, 119:18-120:7. That is insufficient to support a
  10 damages award. WhitServe, 694 F.3d at 31 (rejecting a “superficial recitation of the
  11 Georgia-Pacific factors, followed by conclusory remarks”); see also Exmark Mfg. Co.
  12 v. Briggs & Stratton Power Prods. Grp., 879 F.3d 1332, 1350 (Fed. Cir. 2018) (“When
  13 performing a Georgia-Pacific analysis, damages experts must not only analyze the
  14 applicable factors, but also carefully tie those factors to the proposed royalty rate.”).
  15         Permitting Mr. Bergman to present this new lump-sum reasonable royalty is
  16 also contrary to this Court’s rulings excluding the opinion of Dr. Becker (WD’s
  17 expert) that a lump-sum reasonable royalty would be no more than $1.4 million. In a
  18 pretrial order, the Court found that Dr. Becker presented sufficient evidence that the
  19 Panasonic Agreement he relied on for his damages analysis was technologically and
  20 economically comparable. Dkt. 473 at 13-14. However, the Court also found that Dr.
  21 Becker “cannot invite the jury to apply the lump sum rate from the Panasonic
  22 Agreement as the reasonable royalty rate here,” citing Wordtech Sys. Inc. v. Integrated
  23 Network Sols., Inc., 609 F.3d 1308, 1320 (Fed. Cir. 2010). Id.
  24         MRT requested clarification of that order, submitting a brief that highlighted
  25 Wordtech and incorrectly argued that Dr. Becker would improperly invite the jury to
  26 apply the lump sum from the Panasonic Agreement because there is no “‘additional
  27 data,’ such as ‘how the parties calculated the lump sum, the licensee’s intended
  28 products, [and] how many products each licensee is expected to produce.’” Dkt. 484-1
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   1 at 1. MRT misstated the facts and the law. Dr. Becker’s opinion was not a bare
   2 application of the lump sum in the Panasonic Agreement. Rather, he properly relied
   3 on the Panasonic Agreement as a starting point based on its technological and
   4 economic comparability (which the Court found sufficient) and applied the
   5 Georgia-Pacific factors to “bring the rate up or down.” Dkt. 498-2 at 1. Further,
   6 MRT misinterpreted Wordtech. Dkt. 498-2 at 1-2. Wordtech does not “require[]” an
   7 expert to consider specific “additional data” as MRT contends. Dkt. 484-1 at 1-4.
   8         The Court, however, adopted MRT’s positions and precluded Dr. Becker from
   9 relying on the Panasonic Agreement other than for rebutting Mr. Bergman’s
  10 discussion of the MagSil Agreement. Dkt. 505 at 1. The Court further concluded that
  11 Dr. Becker could not present any damages number because it “already excluded” Dr.
  12 Becker’s “Analytical Approach,” “the other piece” of Dr. Becker’s Georgia-Pacific
  13 analysis. Id. at 3. In other words, according to the Court’s clarification order,
  14 excluding one of only two inputs into the calculation of the ultimate damages figure
  15 rendered Dr. Becker’s opinion improper and so his damages calculation was
  16 precluded.
  17         Under the Court’s reasoning, the same is true for Mr. Bergman’s $305.9 million
  18 figure. Prior to trial, Mr. Bergman opined that the lump-sum reasonable royalty would
  19 have been $253.4 million (not $305.9 million). Dkt. 512-1 at 2. He arrived at the
  20 $253.4 million figure by calculating the midpoint between two inputs—the Market
  21 Approach ($200.9 million) and the Income Approach ($305.9 million). Id. MRT’s
  22 first input ($200.9 million) was struck, so Mr. Bergman relied solely on the second
  23 input ($305.9 million)—arguing, for the first time at trial, that a lump-sum reasonable
  24 royalty would have been $305.9 million. Id. at 1. Under the Court’s prior reasoning,
  25 the Income Approach ($305.9 million) is “just a piece” of Mr. Bergman’s Georgia-
  26 Pacific analysis and “cannot stand alone to support the lump sum figure.” Dkt. 505 at
  27 3. At trial, Mr. Bergman did not make any adjustments, present any analysis of other
  28 factors, or provide “additional data” to reach a $305.9 million lump sum. 7/19/24 Vol.
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   1 I Tr. 59:21-60:7. For that additional reason, Mr. Bergman’s testimony cannot support
   2 a damages award.
   3         B.    MRT’s Damages Demand Was Based on the Incorrect SSPPU
   4         JMOL of no damages should be granted for the separate reason that MRT
   5 legally erred by incorrectly identifying the smallest salable patent-practicing unit
   6 (“SSPPU”). VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1327 (Fed. Cir. 2014)
   7 (internal citation omitted). At trial, MRT’s expert, Mr. Bergman, presented only a
   8 $305.9 million damages demand based on profits of the entire hard disk drive. But
   9 the entire hard disk drive is not the SSPPU. MRT presented no evidence that the entire
  10 market value rule applies. LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d
  11 51, 67 (Fed. Cir. 2012) (referring to the entire market value rule as a “narrow
  12 exception”). And Mr. Bergman did not further apportion as required. Uniloc USA,
  13 Inc. v. Microsoft Corp., 632 F.3d 1292, 1318 (Fed. Cir. 2011) (finding that the patentee
  14 “must in every case give evidence tending to separate or apportion the defendant’s
  15 profits and the patentee’s damages”) (internal quotations and citation omitted).
  16         There is uncontroverted evidence that the SSPPU is the media (a component of
  17 the hard disk drive) and not the entire hard disk drive. See LaserDynamics, 694 F.3d
  18 at 68-70. Ms. Salayphonh (a WD fact witness), testified that WD buys media from a
  19 company called Showa Denko. 7/23/14 Vol. II Tr. 64:16-21, 72:7-74:12; 7/24/24 Vol.
  20 II Tr. 20:22-21:25. Western Digital uses the Showa Denko media platters in the
  21 accused hard disk drive products. 7/23/24 Vol. II Tr. 72:7-24; 7/24/24 Vol. II Tr.
  22 92:13-21. The cost of the components, including the media platters, is readily
  23 available information that WD tracks. 7/23/24 Vol. II Tr. 71:11-72:6. However,
  24 rather than starting with the media, Mr. Bergman started with the entire hard disk drive
  25 as the SSPPU. 7/19/24 Vol. I Tr. 124:9-127:22; see also id. at 124:19-23 (admitting
  26 that the “starting point before I make all the allocations” is “revenues for the entire
  27 hard disk drive”).
  28         Starting with the profits of the entire hard disk drive is prejudicial, even if Mr.
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   1 Bergman claims to have apportioned down to the value attributable only to the claimed
   2 invention. 7/19/24 Vol. I Tr. 126:4-12; see Commonwealth Sci. & Indus. Research
   3 Org. v. Cisco Sys., Inc., 809 F.3d 1295, 1302 (Fed. Cir. 2015). As the Federal Circuit
   4 recited in Commonwealth, there are “two justifications” for requiring a patentee to
   5 start with the SSPPU. 809 F.3d at 1302. First, “calculating a royalty on the entire
   6 product carries a considerable risk that the patentee will be improperly compensated
   7 for non-infringing components of that product.” Id. “Second is the ‘important
   8 evidentiary principle’ that ‘care must be taken to avoid misleading the jury by placing
   9 undue emphasis on the value of the entire product.’” Id. “[D]isclosure of the end
  10 product’s total revenue ‘cannot help but skew the damages horizon for the jury,
  11 regardless of the contribution of the patented component to this revenue.’” Id. It was
  12 improper for MRT to do so here.
  13         While MRT may cite to the portion of Commonwealth finding it “untenable” to
  14 begin with the SSPPU in every case, Commonwealth made clear this was in the
  15 context of relying on “comparable licenses” that already apportion, not the Income
  16 Approach propounded by Mr. Bergman. Commonwealth, 809 F.3d at 1303 (finding
  17 such a “rule” “untenable” because “[i]t conflicts with our prior approvals of a
  18 methodology that values the asserted patent based on comparable licenses”).
  19         C.    MRT’s Regression Model Is Unreliable
  20         MRT has also failed to meet its burden of proof on damages by failing to
  21 apportion to the purportedly “infringing features” of the accused products “and no
  22 more.” Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1309 (Fed. Cir. 2018). Mr.
  23 Bergman’s $305.9 million demand is based on a flawed regression model that
  24 overestimates the price per terabyte, underestimates the cost per terabyte, fails to
  25 account for research and development, and fails to apportion. Mr. Bergman, therefore,
  26 grossly overestimated the alleged damages.
  27         As Mr. Bergman testified, his regression model relied on values for only 56
  28 percent of the accused products, or “External Products,” for all accused products.
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   1 7/19/24 Vol. I Tr. 131:11-132:3 (“It’s not the precise amount, that’s true.”), 132:4-19
   2 (“It is not that number.”), 136:6-25. Inaccuracy in these figures directly affects the
   3 gross profit per terabyte. 7/19/24 Vol. II Tr. 17:22-18:10 (confirming that “if the price
   4 per terabyte is too high” or the “cost per terabyte is too low,” the “gross profit per
   5 terabyte would also be too high”). Indeed, when Mr. Bergman applied the $11.24
   6 gross profit per terabyte to the 89 million terabytes sold between March 2018 and June
   7 2023, he arrived at gross profits of over a billion dollars—nearly double the gross
   8 profits “associated with the accused products” of “between 577 million to 665
   9 million.” Id. at 28:3-22. Further underscoring the unreliability of his model, Mr.
  10 Bergman confirmed that the result is that “Western Digital would pay MRT basically
  11 more than the R&D costs that [he accounts] per terabyte.” Id. at 24:8-16.
  12                                     *       *       *
  13         Accordingly, for any of the foregoing reasons, WD’s renewed motion for JMOL
  14 of no damages should be granted.
  15 V.      CONCLUSION
  16         For the reasons set forth above, WD respectfully requests entry of judgment as
  17 a matter of law pursuant to Federal Rule of Civil Procedure 50(b).
  18
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   1                         CERTIFICATE OF COMPLIANCE
   2               The undersigned, counsel of record for Western Digital Technologies,
   3 Inc. certifies that this brief contains 6,991 words, which [choose one]:
   4                X complies with the word limit of L.R. 11-6.1.
   5                    complies with the word limit set by court order dated [date].
   6
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